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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

DR. LATIKA GIRI,

                      Plaintiff,

v.                                          Case No. 1:24-cv-00410

THE NATIONAL BOARD OF
MEDICAL EXAMINERS,

                      Defendant.
                                    /

                 DECLARATION OF ALEX J. MECHABER, MD, MACP

         1.   My name is Alex Mechaber. I am Vice President of the United States Medical Li-

censing Examination (“USMLE”) at the National Board of Medical Examiners (“NBME”). Unless

otherwise stated, I have personal knowledge of the facts stated below, based on my work at NBME

and my review of company records maintained in the ordinary course of business, as referenced

below.

         2.   I joined the staff of NBME in July 2020 as Associate Vice President, Physician

Licensure Program. In November 2021, I was named Vice President, USMLE. In my role as Vice

President, USMLE, I oversee policy, operations, strategy, and the research agenda for the USMLE

program.

         3.   Prior to joining NBME, I was a Professor of Medicine and the Bernard J. Fogel

Chair in Medical Education at the University of Miami, Miller School of Medicine. I also served

as Senior Associate Dean for Undergraduate Medical Education, and in that role I oversaw medical

student education at the school—including admissions, student affairs, curriculum, and compe-

tency assessments—in addition to providing counseling and guidance to senior medical students

on medical residency applications. During this time, I also served as a volunteer on multiple
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USMLE committees including test development committees and the USMLE Management Com-

mittee. I am now Professor Emeritus at the Miller School of Medicine.

        4.     NBME is a not-for-profit corporation located in Philadelphia, Pennsylvania that

provides assessment services for physicians and other health professionals. Its mission is to protect

the public through state-of-the-art assessments of the knowledge and skills of health professionals.

NBME co-sponsors the USMLE program together with the Federation of State Medical Boards

(“FSMB”).The USMLE is a standardized examination used to evaluate applicants’ knowledge and

their competence for medical licensure in the United States and its territories. The USMLE is de-

signed to assess an examinee’s ability to apply knowledge, concepts, and principles, and to demon-

strate fundamental patient-centered skills, that constitute the basis of safe and effective patient

care.

        5.     Medical licensing authorities across the country rely upon the USMLE to help eval-

uate the qualifications of individuals seeking an initial license to practice medicine and to deter-

mine their eligibility for medical licensure.

        6.     There are three “Steps” to the USMLE, all of which must be passed before an indi-

vidual with an M.D. degree is eligible to apply for an unrestricted license to practice medicine in

the United States.

        7.     Step 1 is a one-day, multiple-choice examination. It assesses whether a candidate

understands and can apply important concepts of the foundational sciences basic to the practice of

medicine, with special emphasis on principles and mechanisms underlying health, disease, and

modes of therapy. It ensures knowledge of not only the sciences that provide a foundation for the

safe and competent practice of medicine in the present, but also the scientific principles required

for maintenance of competence through lifelong learning.



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        8.      Step 2 CK is a one-day, multiple-choice examination that assesses the application

of medical knowledge, skills, and understanding of clinical science essential for the provision of

patient care under supervision and includes emphasis on initial clinical management, health pro-

motion and disease prevention. Step 2 CK ensures that due attention is devoted to principles of

clinical sciences and basic patient-centered skills that provide the foundation for the safe and com-

petent practice of medicine under supervision.1

        9.      Step 3 is a two-day, multiple-choice examination that assesses whether the exami-

nee can apply medical knowledge and understanding of biomedical and clinical science essential

for the unsupervised practice of medicine, with emphasis on patient management in ambulatory

settings. Step 3 content reflects a data-driven model of generalist medical practice in the United

States. The test items and cases reflect the clinical situations that a general, as-yet undifferentiated,

physician might encounter within the context of a specific setting. It is the final examination in the

USMLE sequence leading to a license to practice medicine without supervision. As such, it pro-

vides a final assessment of physicians assuming independent responsibility for delivering general

medical care.

        10.     Steps 1, 2 CK, and 3 are administered by computer at test centers run by a third-

party vendor known as Prometric or its franchisees. Steps 1 and 2 CK are administered at test

centers around the world. Step 3 is only administered in the United States and its territories. More

than 100,000 Step examinations are administered each year.

        11.     Developing items for the USMLE is time-consuming and expensive. The process

requires input from subject matter experts across the country who devote a significant number of




1
 The USMLE previously included a Step 2 CS (Clinical Skills) component, which was suspended
in May 2020 due to the COVID-19 pandemic and was subsequently discontinued.

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hours developing items, numerous committee meetings to review and refine items, as well as sup-

port from NBME editors and other technical staff to ensure consistency and standardization of

items created. It costs thousands of dollars to develop a single exam item and hundreds of thou-

sands of dollars to create a single multiple-choice USMLE exam form. On average, it takes two

years to develop each multiple-choice item on a Step exam, from inception to its first administra-

tion as a scored item on the USMLE.

        12.    The USMLE is a “secure” exam, which means that the exam items are kept confi-

dential before and after an exam is administered. Strict security measures are in place in NBME’s

offices that limit who can access USMLE items. NBME also holds examinees to strict confidenti-

ality obligations. As a condition of taking any Step examination, examinees must agree not to

duplicate or disclose any examination materials before, during or after taking the examination, by

any means or in any format whatsoever. This includes not disclosing or discussing any questions

or answers that they see when taking a Step exam, in whole or in part, through in-person discus-

sions or on any internet-based platforms, and not accessing content that has been improperly dis-

closed. Exam rules of conduct and prohibited behavior are set forth in the USMLE Bulletin of

Information, and examinees must certify that they have read and agree to abide by the Bulletin of

Information and the policies and procedures described therein as a condition to applying for the

exam.

        13.    NBME goes to great lengths to maintain the confidentiality of its USMLE items

because, as is common with standardized tests, NBME reuses items from prior exams to “equate”

scores (that is, to adjust for variation in the difficulty of exam forms so that the reported scaled

scores reflect the same level of performance exam-to-exam).




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           14.   When live USMLE items are disclosed outside of the secure testing environment,

it jeopardizes the validity of future exam results. The risk is that questions will be answered cor-

rectly not because a given examinee knows the applicable content but because of prior access to

the questions and answers. That harms not only other examinees and the USMLE program, but

also the licensing boards and members of the general public that rely on USMLE outcomes to help

ensure that only those with the skill and knowledge needed to practice medicine unsupervised are

licensed as doctors. It also harms the medical residency programs that rely on USMLE scores when

evaluating and selecting applicants.

           15.   The performance of USMLE examinees is monitored regularly and may be ana-

lyzed to detect aberrancies or other variations that raise questions about the validity of their exam

results.

           16.   The USMLE program expressly reserves the right to cancel exam results that are at

or above the passing level if the USMLE program has a good faith basis for questioning whether

the exam result(s) represent a valid measure of knowledge or competence as assessed by the ex-

amination. Questions about score validity may result from irregular behavior, improper access to

exam questions, or other factors.

           17.   The USMLE program has different policies and procedures in place to address in-

stances of suspected irregular behavior versus instances of questioned score validity, although cer-

tain types of conduct might fall under more than policy. A true and correct copy of the United

States Medical Licensing Examination (USMLE) Policies and Procedures Regarding the Validity

of Passing Level Scores is attached at Exhibit A, and a true and correct copy of the United States

Medical Licensing Examination (USMLE) Policies and Procedures Regarding Irregular Behavior

is attached at Exhibit B.



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       18.     As recognized in the Policies and Procedures Regarding the Validity of Passing

Level Scores (shown at Exhibit A), special procedures may also be appropriate in some circum-

stances in which the validity of a passing USMLE score is questioned, particularly in circum-

stances involving multiple examinees. In accordance with the Policies and Procedures Regarding

the Validity of Passing Level Scores, the USMLE program is expressly authorized to take any

actions it deems appropriate in response to concerns regarding score validity if the USMLE Com-

mittee for Individualized Review (“CIR”) or the USMLE Composite Committee concludes that

alternative or supplemental procedures are warranted in response to a given set of facts or circum-

stances.

       19.     Following a months-long investigation and analysis by the USMLE program that

was precipitated by anonymous tips, anomalous performance data, and other information related

to a Prometric test center in Nepal at which the USMLE exam was being administered, the USMLE

program identified 832 examinees who had passing level performance results on one or more Step

exams as to which the USMLE program had significant concerns about the validity of the passing

results. A true and correct copy of the USMLE Program Statement on Notification of Invalidated

Exam Scores, which was posted online on January 31, 2024, is attached at Exhibit C.

       20.     In the interest of providing a process that is timely, efficient, effective, and fair, and

given the large number of examinees involved in this investigation, the USMLE program con-

cluded that alternative procedures were warranted to address the score invalidity concerns identi-

fied through this investigation and analysis. Those alternative procedures are set out in a document

entitled the United States Medical Licensing Examination (USMLE) Policies and Procedures Re-

garding the Validity of Passing Level Scores Achieved by a Subset of USMLE Examinees. A true

and correct copy of this document is attached at Exhibit D.



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       21.     As set out in the Policies and Procedures document found at Exhibit D at pages 4-

5, examinees were provided three options in response to the USMLE program’s findings, and they

were required to choose how they wished to proceed within fifteen calendar days of receiving

notice. In setting this deadline, the USMLE program was mindful of providing sufficient time for

examinees to respond, while also allowing the process to move forward expeditiously and facilitate

exam retake planning and scheduling.

       22.     The USMLE program was aware that hundreds of the examinees identified through

the USMLE program’s investigation and analysis with passing-level scores of questionable valid-

ity were registered to participate in the 2024 National Resident Matching Program (“NRMP”).

Program leadership (which includes academic medical center faculty who are intimately familiar

with the medical residency training process as well as representatives of state medical licensing

boards) was deeply concerned about the risks of allowing this group of individuals to move for-

ward in the Match and potentially enter into a residency program where they would be directly

involved in patient care.

       23.     The USMLE program is continuing to investigate information relating to exam se-

curity, in Nepal and in other countries. To the extent that issues have been or are identified reflect-

ing similar conduct by large numbers of examinees in other countries, I expect that those exami-

nees will be subject to the same policies and procedures that have been applied to the examinees

at issue in the captioned lawsuit, including the immediate non-reporting or suspension of test re-

sults whose validity is subject to question by the USMLE program.

       24.     We have not invalidated any exam scores because of an examinee’s nationality or

citizenship; instead, we acted on the basis of examinee performance data and other information

relevant to the validity of the USMLE results that we report. In all instances, the actions that we



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take are intended to protect the validity of reported USMLE scores and thus to help protect the

health and well-being of the general public.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on Feb-

ruary 18, 2024.

                                               ______________________________________
                                               Alex J. Mechaber, MD, MACP




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                United States Medical Licensing Examination (USMLE)
       Policies and Procedures Regarding the Validity of Passing Level Scores

Introduction

The USMLE program is designed to produce high quality, reliable examinations. To
that end, the USMLE program endeavors to ensure that test scores are comparable
over administrations and support valid inferences, and to report and stand behind only
those scores in which the program has confidence.

The following policies and procedures are intended to address situations in which the
USMLE program has a good faith basis for questioning the validity of a passing level
score 1. These policies and procedures do not apply to technical or administrative events
or errors, to which other USMLE policies/procedures may apply. Policies and
procedures regarding suspected irregular behavior, which may or may not affect score
validity, are described in another document, entitled USMLE Policies and Procedures
Regarding Irregular Behavior.

A. Policies

    1. These policies and procedures address passing level examination results that
       might not represent a valid measure of an examinee's competence in the
       domains assessed by the examination. Aberrancies in performance below the
       passing level are addressed in the USMLE Policies and Procedures Regarding
       Anomalous Performance.

    2. The fact that a question arises concerning the validity of a score does not
       necessarily imply that an examinee engaged in inappropriate behavior; irregular
       behavior is not the only basis upon which scores may be invalidated or reported
       with a qualification.

    3. An examinee's passing level score will not be reported if staff and/or the
       Committee for Individualized Review (CIR) has a good faith basis for questioning
       whether it represents a valid measure of the examinee's competence in the
       domains assessed by the examination.

    4. If otherwise eligible to test, an examinee whose scores have been determined by
       staff and/or the CIR to be invalid may retake an examination, unless the
       examinee’s access to future administrations of the USMLE is restricted on the
       basis of another policy/procedure, such as a referral to CIR for possible irregular
       behavior.

1
  As used herein, “score” includes a passing level outcome on an examination for which a result but no
score is reported.
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    5. These policies and procedures are intended to address most situations in which
       the validity of the passing score of an individual examinee is questioned. There
       may be circumstances, however, particularly involving multiple examinees, that
       are more appropriately addressed under other procedures. The USMLE program
       reserves the right to take whatever actions it deems appropriate if the CIR or
       USMLE Composite Committee concludes that alternative or supplemental
       procedures are warranted in response to a given set of facts or circumstances.

B. Procedures

    1. These procedures are applicable to instances in which:

         a) a good faith basis exists for questioning whether a passing level score
            represents a valid measure of an examinee's competence in the domains
            assessed by the examination; and

         b) there is no evidence of errors in scoring; and

         c) there is no reasonable basis for concluding that the examinee's scores were
            distorted by factors under the control of the test administration entities.

    2. In such instances, staff will evaluate the concerns regarding score validity, will
       review any additional information available from examination records that may be
       relevant and may conduct further investigation as staff deem appropriate.

    3. If a question about score validity arises prior to the release of the score,
       staff will notify the examinee and any other party to which scores would normally
       be reported that the reporting of the scores is being delayed pending further
       review, and ask the examinee to provide a response within 20 days. If the
       examinee fails to respond or otherwise does not provide an adequate
       explanation, staff may decide that the score should be canceled. Unless the
       examinee’s access to the USMLE is restricted (see Paragraph A.4 above), the
       examinee will be given the option to retest or to ask that the CIR review the staff
       decision. If the examinee requests CIR review, the CIR will consider the matter
       based on all pertinent information, including the examinee’s written submission
       and the information on which staff relied in deciding that the score should be
       canceled. The examinee shall not appear in person. If the CIR concludes that
       the questioned score should not be canceled, it will direct staff to report the
       examinee's scores. If the CIR determines that a good faith basis exists for
       questioning whether the score represents a valid measure, it shall direct staff to
       cancel the examinee’s score. The examinee will have the option to retest and
       receive the score achieved on the retest. The decision of the CIR is final.

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    4. If a question about score validity arises after a score has been released but
       less than one year from the date of the test administration, staff will suspend
       further distribution of the questioned score, inform the examinee about the
       question, and request a response within 20 days. If the examinee fails to
       respond or otherwise does not provide an adequate explanation, staff may
       decide that the score should be canceled.         Unless the examinee’s access to
       USMLE is restricted (see Paragraph A.4 above), the examinee will be given the
       option to retest or to ask that the CIR review the staff decision. If the examinee
       requests CIR review, the CIR will consider the matter based on all pertinent
       information, including the examinee’s written submission and the information on
       which staff relied in deciding that the score should be canceled. The examinee
       shall not appear in person. If the CIR concludes that the questioned score
       should not be canceled, it will direct staff to report the examinee's scores. If the
       CIR determines that a good faith basis exists for questioning whether the score
       represents a valid measure, it shall direct staff to cancel the examinee’s score.
       The examinee will have the option to retest and receive the score achieved on
       the retest, or to appeal to the USMLE Composite Committee pursuant to
       Paragraph B.9 below.

    5. If the question about the validity of a score arises after the score has been
       released and more than one year after the date of the test administration,
       staff shall follow the procedure set out in Paragraph B.4 above. In addition,
       before sending the initial notice of inquiry, staff shall consider the individual’s
       status in USMLE sequence as well as educational and career progression with
       particular attention to beginning residency and obtaining licensure in light of the
       nature of the question about score validity and the role of the examination in
       protecting the health of the public.

    6. In each instance described above, if investigation, including, e.g., communication
       with the examinee, discloses an explanation that staff concludes is reasonable
       and satisfactory, staff will report the examinee's scores and no further action will
       be taken pursuant to these policies and procedures.

    7. If there is evidence of irregular behavior involving the examinee, USMLE Policies
       and Procedures Regarding Irregular Behavior will also apply. In instances
       involving suspected irregular behavior which raise concerns about the validity of
       scores, the CIR may review the evidence concerning either issue (score validity
       or irregular behavior) first and may proceed under either or both sets of policies
       and procedures, as the CIR deems appropriate and without requiring the CIR to
       conduct separate proceedings. If a score is canceled in connection with a finding
       of irregular behavior, and the examinee is permitted to retest, the examinee will
       be charged for the retest.

    8. When an examinee's score is canceled pursuant to these policies and
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         procedures, the examinee and any other party that has received or would
         normally receive a report of the scores in question will be notified. The
         examinee's record and transcript will be annotated to show that the score is
         unavailable.

    9. Provided that the examinee has not chosen to retest, a decision of the CIR made
       pursuant to Paragraph B.4 or B.5, above, may be appealed to the USMLE
       Composite Committee if the examinee involved has a reasonable basis to
       believe that the CIR did not act in compliance with applicable USMLE policies
       and/or procedures or that the decision of the CIR was clearly contrary to the
       weight of the evidence before it. The request for such an appeal must be
       received within 30 days of the date on which the notification advising the
       examinee of the CIR’s decision was mailed to the examinee. Notice that the
       challenged score is under review will be included with USMLE transcripts issued
       during the pendency of such an appeal. The Composite Committee shall review
       the written record, consisting of all information available to the CIR, and the basis
       for appeal set forth by the examinee. The examinee shall not appear in person.
       If the Composite Committee finds that the CIR did not act in compliance with
       applicable USMLE policies and procedures or that the decision of the CIR was
       clearly contrary to the weight of the evidence, the Composite Committee may
       reverse the decision of the CIR or remand the matter to the CIR or to staff for
       further consideration. Otherwise, the determination of the CIR will stand, and,
       unless the examinee’s access to the USMLE is restricted (see Paragraph A.4
       above), the examinee will be allowed to retest. If the Composite Committee
       reverses the decision of the CIR, all entities having received USMLE transcripts
       showing that the score was unavailable will be notified of the decision of the
       Composite Committee and provided with updated transcripts.

    10. If an examinee’s score is canceled under these procedures, and the examinee
        retests, the examinee will not be charged for the retest, 2 unless the score was
        canceled in connection with a finding of irregular behavior.




2
 Only one retest without charge will be given. If the examinee does not pass the retest, they will be
charged for subsequent attempts at the exam.
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                     United States Medical Licensing Examination (USMLE)
                     Policies and Procedures Regarding Irregular Behavior

Introduction

The following policies and procedures regarding irregular behavior are intended to
protect the integrity of the USMLE examination program. If the irregular behavior
creates a good faith basis for questioning the validity of an examinee’s scores, the
policies and procedures described in another document, entitled USMLE Policies and
Procedures Regarding the Validity of Passing Level Scores, may also be applicable.

A. Policies

   1.    Irregular behavior includes all actions or attempted actions on the part of
         applicants, examinees, potential applicants, or others that could subvert the
         examination process. Examples of irregular behavior include, but are not limited
         to: failing to comply with any USMLE policy, procedure, and/or rule; seeking
         and/or obtaining unauthorized access to examination materials; providing false
         information; impersonating an examinee or having someone else test in one’s
         place; giving assistance to or receiving assistance from another individual in
         answering test items; possessing unauthorized items, equipment or materials
         during an examination; altering or misrepresenting examination scores; engaging
         in disruptive or unprofessional behavior at a test center; theft of examination
         materials; unauthorized reproduction by any means and/or dissemination of
         examination content or other copyrighted materials; posting or discussing
         examination content on any website, or asking others to do so; and taking any
         other action that could give an inappropriate advantage to individuals who might
         be taking the examination.

   2.    If the USMLE Committee for Individualized Review (“CIR”) determines that
         irregular behavior has occurred, an annotation to that effect will be entered in the
         USMLE record of the examinee, and this annotation will appear on applicable
         score reports (if scores are reported) and on transcripts for that examinee.
         Information regarding the decision of the CIR and the basis for such decision
         may also be provided to legitimately interested entities, including the Federation
         of State Medical Boards’ Physician Data Center.

   3.    If the CIR determines, in its discretion, that an individual engaged in irregular
         behavior that is sufficiently serious to warrant such action, the individual may be
         barred from future administrations of USMLE or subjected to special procedures
         for taking future USMLE examinations, in addition to being subject to the actions
         described in Paragraph A.2, above.




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   4.    A CIR finding of irregular behavior may be appealed by the affected individual to
         the USMLE Composite Committee in accordance with Paragraph B.8, below.
         The pendency of an appeal, however, will not stay or delay implementation of the
         CIR’s decision.

B. Procedures

   1.    After acquiring information suggesting irregular behavior on the part of an
         individual from third-party reports, statistical analysis, fact investigation, or
         otherwise, staff will assess whether there is sufficient evidence to conclude that
         irregular behavior may have occurred. Staff will conduct a follow-up investigation
         to gather additional information when necessary.

   2.    If the staff analysis and/or follow-up investigation will not be concluded until after
         the typical period for the reporting of scores, the examinee and the entity to
         which scores would normally be reported will be notified that the reporting of the
         scores in question is being delayed pending further review.

   3.    If, at the conclusion of its investigation and analysis, staff finds that there is a
         reasonable basis to conclude that an individual has engaged in irregular
         behavior, the matter will be referred to the CIR. If the individual is an examinee,
         his/her scores will be withheld if not already released, and the individual might
         not be permitted to sit for subsequent examinations, nor will Step applications be
         processed, pending a decision by the CIR.

   4.     If a potential irregular behavior incident is referred to the CIR, the individual
         involved will be notified using the individual’s last known email and postal
         address and provided with a copy of the applicable USMLE policies and
         procedures. The individual will be advised of the information which initiated the
         investigation and relevant findings of the investigation. The individual will be
         given an opportunity to provide an explanation for the facts described in the
         findings and to present other relevant information. The individual may request the
         opportunity to appear personally before the CIR. If the individual involved
         appears personally before the CIR, the oral presentation will be made under oath
         and a stenographic or audio recording may be made at the election of the CIR.

   5. The CIR will consider all available pertinent information in deciding whether an
      individual engaged in irregular behavior, including the record assembled by staff,
      statistical analyses employed by staff (if any), and any explanation or other
      information that the individual may provide. If the CIR determines that there is a
      good faith basis for concluding that irregular behavior has occurred, the affected
      individual will be notified and informed of the right to appeal the CIR decision in
      accordance with Paragraph B.8, below. Regardless of whether an appeal is
      taken, an annotation indicating the nature of the irregular behavior will be entered
      immediately in the individual's USMLE record. This annotation will appear on the
      applicable score report (if scores are released) and on transcripts for the

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         individual. At the discretion of the CIR, information regarding a CIR finding of
         irregular behavior may also be provided to legitimately interested entities,
         including but not limited to the entity that certified the individual’s eligibility for the
         examination in question, a medical education or training program in which the
         individual has participated or is participating at the time of the CIR’s decision,
         and/or the FSMB’s Physician Data Center. All medical licensing authorities that
         have received a score report or transcript for this individual in the past will
         receive an updated transcript and/or score report which reflects the CIR’s
         decision.

   6.    If suspected irregular behavior raises concerns about the validity of a USMLE
         score, staff and/or the CIR may elect to review the matter and to proceed under
         these policies and procedures and/or under the USMLE Policies and Procedures
         Regarding the Validity of Passing Level Scores, as staff and/or the CIR deem
         appropriate and without requiring staff and/or the CIR to conduct separate
         proceedings.

   7.     In the event of irregular behavior that the CIR deems, in its discretion, to be
         sufficiently serious to warrant such action, the CIR may bar the individual from
         future examinations and/or implement special procedures for administering future
         examinations to the affected individual. If an individual is barred from future
         examinations, the CIR may allow for testing after a specified minimum time, upon
         petition of a medical licensing authority.

   8.    A decision of the CIR may be appealed to the USMLE Composite Committee if
         the individual involved has a reasonable basis to believe the CIR did not act in
         compliance with applicable USMLE policies and/or procedures or that the CIR’s
         decision was clearly contrary to the weight of the evidence before it. The appeal
         must be received within 30 days of the date on which the notice of the CIR’s
         decision was mailed to the individual. If the score for the examinee and CIR
         findings are reported during the pendency of the appeal, the recipient of the
         report will be informed that the individual is appealing the decision.         The
         Composite Committee will decide appeals based upon a written record, including
         all information available to the CIR, a transcript of the recording made during the
         individual's appearance before the CIR (if there was such an appearance and it
         was transcribed), and the basis for appeal set forth by the individual. Neither the
         individual who is the subject of a CIR decision nor anyone representing that
         individual shall be entitled to appear in person before the Composite Committee.
         If the Composite Committee determines that the CIR did not act in compliance
         with applicable USMLE policies and procedures and/or that the decision of the
         CIR was clearly contrary to the weight of the evidence, the Composite Committee
         may reverse the decision of the CIR or remand the matter to the CIR or staff for
         further consideration. If the Composite Committee reverses the decision of the
         CIR to annotate the individual’s USMLE record, all entities that received USMLE
         transcripts or score reports showing irregular behavior will be notified of the
         decision of the Composite Committee and provided with an updated transcript
         and/or score report. Otherwise, the determination of the CIR will stand.
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                 EXHIBIT D
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      United States Medical Licensing Examination (USMLE) Policies and
    Procedures Regarding the Validity of Passing Level Scores Achieved by a
                        Subset of USMLE Examinees

A. Introduction

The USMLE program is designed to produce high quality, reliable examinations. To
that end, the USMLE program endeavors to ensure that test scores support valid
inferences, and to report and stand behind only those passing level outcomes in
which the program has confidence. Jurisdictions across the country rely upon
USMLE outcomes to help them determine whether individuals seeking to become
licensed physicians have the minimum knowledge and skills needed to provide safe
and effective patient care. It is therefore important to protect the integrity and
reliability of reported USMLE outcomes.

The United States Medical Licensing Examination (USMLE) Policies and
Procedures Regarding the Validity of Passing Level Scores address most situations
in which the USMLE program has a good faith basis for questioning the validity of
an individual’s passing level score.1 Those Policies and Procedures also recognize,
however, that different procedures might be warranted in certain circumstances,
including situations “involving multiple examinees.” Under Section A.5 of the
Policies and Procedures, the USMLE program “reserves the right to take whatever
actions it deems appropriate if the [USMLE Committee for Individualized Review]
or [the] USMLE Composite Committee concludes that alternative or supplemental
procedures are warranted in response to a given set of facts or circumstances.”

An investigation by USMLE program staff raised concerns regarding the outcomes
achieved by a subset of USMLE examinees. These individuals are collectively
referred to in this document as the “Examinees” and individually as an “Examinee.”
The USMLE Composite Committee has concluded that alternative procedures
should be implemented in response to the score-validity concerns relating to these
Examinees.



1
 As used here, “score” includes a passing level outcome on any of the USMLE Step
examinations, regardless of whether a numeric score is reported. “Outcome” and
“score” have the same meaning in this document.

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This document sets forth the policies and procedures that will be applied to
Examinees, all of whom achieved passing level outcomes on one or more exams
whose validity the USMLE program has a good faith basis for questioning.

B. Policies

   1. These policies and procedures address passing level examination outcomes
for which there is a good faith basis for questioning whether the outcome represents
a valid measure of an Examinee's competence in the domains assessed by the
examination.

    2. These policies and procedures apply to and govern all Examinees, as defined
in this document. The review and appellate procedures set forth in the United States
Medical Licensing Examination (USMLE) Policies and Procedures Regarding the
Validity of Passing Level Scores do not apply to Examinees governed by this
document.

   3. The fact that a question arises concerning the validity of a score does not
necessarily imply that an Examinee engaged in irregular behavior, or that an
Examinee was aware that he or she was engaging in irregular behavior. Irregular
behavior is not the only basis upon which scores may be invalidated or reported with
a qualification. Examinees will be notified separately if they are being investigated
for suspected irregular behavior under the USMLE Policies and Procedures
Regarding Irregular Behavior.

   4. Open registrations will be canceled, and no additional Step applications will
be processed, for Examinees unless they are eligible to test under the policies and
procedures in this document.

   5. The scores of all Examinees will be set by the USMLE program to “Score Not
Available” for any passing level outcome whose validity the USMLE program has
concluded there is a good faith basis for questioning. This means that the original
passing level outcome will not be reportable to any score recipient unless the
invalidation determination is overturned under the policies and procedures in this
document.

   6. Regardless of whether the validity of an Examinee’s passing level Step 3 score
has been questioned, all Step 3 scores of Examinees (reported or not) will be set to
“Score Not Available” until a passing outcome has been achieved on the Step 1 and
Step 2 CK examinations.
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   7. If an Examinee’s questioned passing level outcome on a given Step exam has
not already been reported, the Examinee will not receive a score report for that exam,
and the attempt will appear as “Score Not Available” on the Examinee’s USMLE
transcript, unless the invalidation determination is overturned under the policies and
procedures in this document.

   8. If an Examinee’s questioned passing level outcome on a given Step exam has
already been reported, prior USMLE transcript recipients will receive a revised
transcript which states “Score Not Available” for that exam.

   9. If an Examinee's score on one or more Step exams is not reinstated pursuant
to these policies and procedures, the Examinee’s score on each such exam will
remain permanently unavailable and designated on the Examinee’s USMLE
transcript as “Score Not Available.”

    10. An Examinee whose score on a given Step exam has not been reinstated
following the conclusion of any review procedures set forth in this document may
retake that examination, unless the Examinee’s access to future administrations of
the USMLE has been suspended under these policies/procedures or is restricted on
the basis of another policy/procedure, such as the Policies and Procedures
Regarding Irregular Behavior.

   11. If an Examinee’s passing level scores on more than one Step exam have been
questioned, the Examinee must achieve a valid score on each such Step exam in
order to have his/her USMLE transcript reflect successful completion of that Step in
the USMLE sequence. Examinees can achieve a valid score either by having the
questioned score upheld as valid under the review procedures set forth in this
document or by re-taking the exam (if eligible to do so) and achieving a passing
score on the re-test.

    12. Examinees who attempt to achieve valid Step 1 and Step 2 CK scores by
retaking those exams may retake the exams in whichever order they prefer. To be
eligible to retake the Step 3 exam, an Examinee must first have valid, reportable
passing scores in place for both the Step 1 and Step 2 CK exams.

   13. If an Examinee does not achieve a passing level outcome on a Step exam
that is retaken under the policies and procedures set forth in this document, the
Examinee will automatically be suspended from taking or re-taking any Step
examination for three (3) years, following which the Examinee may take or retake
any Step exam that the Examinee is otherwise eligible to take. If an Examinee fails
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to achieve a passing level outcome on any Step exam that is taken or retaken after
the end of a 3-year suspension period, the Examinee will be permanently barred from
subsequently taking any Step examination.

    14. Under current USMLE policies, candidates are not allowed more than four
(4) attempts on each Step exam, unless a state medical board sponsors the candidate
for a fifth attempt on a given Step exam. Any Step examination administration for
which the resulting outcome has been questioned under the policies and procedures
set forth in this document will count as an attempt on that Step examination, as will
any Step examination administration that occurs pursuant to the re-test procedure
provided for in this document.

    15. A state medical board may not sponsor an Examinee for an additional
attempt at a given Step exam beyond the four-attempt limit if the additional attempt
would be an exam that the Examinee is retaking in an effort to achieve a valid
passing score under the policies and procedures set forth in this document.

C. Procedures

                      Notice and Opportunity to Provide a Response

   1. The USMLE program will provide written notice to each Examinee that the
validity of his/her passing level outcome on one or more USMLE Step examinations
has been questioned (the “Notice”). The Notice will identify the applicable Step
examination(s) and state why the validity of the passing level outcome has been
questioned.

    2. Notice will be provided by sending an email message to the Examinee at the
last known email address found in the Examinee’s USMLE-related records.
   3. The Notice will include a copy of these United States Medical Licensing
Examination (USMLE) Policies and Procedures Regarding the Validity of Passing
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   4. Examinees will have fifteen (15) calendar days from the date on which the
Notice has been provided to submit a written response via the link provided in the
Notice. The Notice will inform Examinees how to submit a response, if they elect to
provide one, and will include a link to a form to be used for this purpose.

   5. Examinees who receive a Notice will have three options, the details of which
will be further described in the Notice:
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        a) Option 1: Exam Retake: Submit a timely response that informs the
           USMLE program that the Examinee does not wish to challenge the score
           invalidation and instead wishes to re-take the applicable examination(s) if
           otherwise eligible to do so; or

        b) Option 2: Reconsideration of an Invalidated Outcome: Submit a
           timely response with an explanation as to why the score(s) at issue should
           be deemed valid, using the form that will be available for this purpose and
           providing (with the response) additional documents that the Examinee
           believes to be relevant regarding the validity of the applicable score(s) (the
           response and any documents will be subject to applicable size limits, as
           stated on the form); or

        c) Option 3: Take No Action: Do not submit a response, or submit a
           response form stating that the Examinee does not wish to re-test or to seek
           reconsideration.

   6. If an Examinee does not submit a response to the Notice, submits a response
form stating that he/she does not wish to take a re-test or to seek reconsideration, or
submits a response that is not received by the USMLE program within the 15-day
response period, the Step score(s) at issue will remain permanently unavailable and
the Examinee will not be given an opportunity to pursue further review of the score
invalidation or to take a free re-test. In addition, the Examinee will be suspended
from taking or re-taking any Step examination for three (3) years, following which
he/she may re-test if otherwise eligible to do so. If an Examinee fails to achieve a
passing level outcome on any Step exam that is taken or retaken after the end of a 3-
year suspension period, the Examinee will be permanently barred from subsequently
taking any Step examination.

                 Review of Responses by an Initial Review Committee
   7. If an Examinee submits a timely response to the Notice with an explanation
as to why the score(s) at issue should be deemed valid, the response and any
supporting documentation will be reviewed by a committee made up of staff
members from the USMLE program’s sponsoring organizations (the “Initial Review
Committee”). The Initial Review Committee will not consider responses that are
not received within the 15-day period for submitting a reconsideration request.

   8. Based upon the submitted materials, the Examinee's performance data, and
other information available to the Initial Review Committee, the Initial Review
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Committee will decide whether there is still a good faith basis for questioning the
validity of the outcome(s) at issue.

   9. Documents or other information submitted outside of the 15-day response
period will not be considered by the Initial Review Committee, unless the
Committee requested the documents or other information after the Examinee had
submitted a timely initial response and the documents/information were provided by
the Examinee by any deadline given by the Committee.

    10. Examinees may not appear in person before the Initial Review Committee.

    11. If the Initial Review Committee concludes that the information submitted by
or on behalf of an Examinee provides an adequate basis for treating the outcome(s)
at issue as valid, the Committee will so notify the Examinee and the outcomes(s)
will be reinstated as valid in the USMLE system. This notice will be provided by
email.

   12. If the Initial Review Committee concludes that the information submitted by
or on behalf of an Examinee does not provide an adequate basis for overturning the
decision to invalidate the score(s) at issue, the Committee will so notify the
Examinee. This notice will be provided by email.

   13. An Examinee who receives an adverse decision from the Initial Review
Committee may elect to appeal that decision in accordance with the procedures set
forth below. Alternatively, and if otherwise eligible to re-test, the Examinee may
elect to take a free re-test by so informing the USMLE program within fifteen (15)
calendar days of the date on which the Examinee is notified of the Initial Review
Committee’s decision. Instructions on how the Examinee may elect to take a re-test
will be included with the notification of the Initial Review Committee’s decision.
    14. If an Examinee does not submit a timely appeal after receiving the Initial
Review Committee’s decision, or elect in a timely manner to take a re-test after
receiving that decision, the Step outcome(s) at issue will remain permanently
unavailable and the Examinee will not be given an opportunity to pursue further
review of the score invalidation or to take a re-test. In addition, the Examinee will
be suspended from taking or re-taking any Step examination for three (3) years,
following which he/she may re-test if otherwise eligible to do so. If an Examinee
fails to achieve a passing level outcome on any Step exam that is taken or retaken
after the end of a 3-year suspension period, the Examinee will be permanently barred
from subsequently taking any Step examination.
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      Right to Appeal to an Ad Hoc Committee Established by the USMLE
                             Composite Committee

   15. An Examinee who receives an adverse decision from the Initial Review
Committee may submit an appeal to an ad hoc committee that is established by the
USMLE Composite Committee (the “Appeal Committee”). An appeal must be
received by the USMLE program within fifteen (15) calendar days of the date on
which the Examinee was notified of the decision reached by the Initial Review
Committee. The Appeal Committee will not consider appeals that are not received
within the 15-day period for submitting an appeal.

   16. If the Examinee appeals, the Appeal Committee will consider the matter
based upon the Examinee’s appeal document (see paragraph 17, below), and the
record that was before the Initial Review Committee, including the written response
and any supporting documents submitted in a timely manner by the Examinee, the
Examinee’s performance data, and any other information considered by the Initial
Review Committee. The Examinee may not appear in person before the Appeal
Committee.

   17. An Examinee’s appeal from the decision reached by the Initial Review
Committee must be in writing and should explain why the decision should not be
upheld. The appeal document may not be more than sixteen megabytes (16 MB),
and no supporting documents may be submitted with the appeal document.

   18. With respect to each timely appeal, the Appeal Committee will uphold the
decision of the Initial Review Committee unless the Appeal Committee concludes
that the Initial Review Committee’s decision was clearly contrary to the weight of
the evidence contained in the record before the Initial Review Committee.

   19. If the Appeal Committee concludes that the questioned outcome(s) should
be reinstated, it shall direct USMLE staff to reinstate the Examinee's score(s) as valid
and reportable.

    20. If the Appeal Committee upholds the decision of the Initial Review
Committee, the outcome(s) at issue will remain permanently designated as “Score
Not Available” and the Examinee will be given the opportunity to take a free re-test
if otherwise eligible to test.

    21. Decisions made by the Appeal Committee under the procedures set forth in
this document are final.
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                             Opportunity to Take a Free Re-Test

   22. Any Examinee who (a) elects to re-test within fifteen (15) days of receiving
a Notice that his/her score has been questioned, or (b) does not have his/her score(s)
reinstated by either the Initial Review Committee or the Appeal Committee after the
submission of timely requests for review by one or both of those committees, will
be given an opportunity to take a free re-test with respect to the applicable Step
exam(s) if otherwise eligible to test. Examinees who take such a re-test will receive
the score achieved on the re-test unless concerns also arise regarding the validity of
that score.

  23. The outcome achieved on a re-test will be reflected on the Examinee’s
USMLE transcript unless concerns also arise regarding the validity of that outcome.
The transcript will continue to state “No Score Available” for any Step exam for
which the Examinee achieved an outcome that was invalidated.

   24. If an Examinee retakes a Step examination pursuant to the re-test option
provided in this document, the Examinee will not be charged for the re-test.

   25. If the Examinee does not pass the re-test and is eligible to test again at a later
date, he/she will be charged all applicable fees for subsequent attempts at the exam.

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